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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT _.”. tetra Seter Coats.

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Southern District of Texas OCT i¢ 2018
United States of America ) David J, Bradley, Clerk of Court
Vv. ) .
Albino VARGAS-Hernandez Cae Wie: H ] 8 “ | § 5 9 i
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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 09, 2018 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 8 United States Code Conspiring with others knowingly or in reckless disregard of the fact that an
Section 1324 (a)(1)(A)(v)(I) alien has come to, entered, or remains in the United States in violation of law,

transport, move or attempt to transport or move such alien within the United
States by any means

This criminal complaint is based on these facts:

See attached affidavit

m Continued on the attached sheet.

 

 

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Complainant's signature

Raul Silva, Special Agent

Printed name and title

 

Sworn to before me and signed in my presence.

 

Date: 10/18/2018 Fie I few
Judge's Signature [
ge

City and state: Houston, Texas Frances H. Stacy, U.S. Magistrate Ju
Printed name and title

 

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Raul Silva, being first duly sworn, depose and state the following:

L, Iam a Special Agent (SA) with the United States (US) Department of Homeland Security
(DHS), Immigration and Customs Enforcement (ICE) / Homeland Security Investigations (HSI),
presently assigned to the office located in Houston, Texas. I have been employed by ICE since
2010 and have been on my present assignment for approximately one year.

2s The information enumerated in the paragraphs below, furnished in support of this
affidavit, is derived from my own observations and the observations of other law enforcement
agents.

3. On July 9, 2018, Agents noticed a black Nissan Xterra with Texas Registration
GWK7484 being driven by an individual, later identified as Albino VARGAS-Hernandez, depart
2417 Woodgate St and travel to 13619 Sundale Rd. in Houston, Texas. At the 13619 Sundale
Rd. address, VARGAS-Hernandez drove in the property and agents were unable to see what
mobile home VARGAS-Hernandez turned into. Agents observed VARGAS-Hernandez exiting
the property at 13619 Sundale Rd. and travel to a business plaza near the intersection of Imperial
Valley Drive and Aldine Bender Road. Agents observed VARGAS-Hermandez wearing a blue t-
shirt, blue jeans and a dark colored baseball cap exiting the black Nissan Xterra. Agents
additionally observed a young Hispanic female wearing blue jeans and an orange long-sleeve
shirt exit the passenger side of the black Nissan Xterra. Agents observed both subjects enter the
Teloloapan Meat Market located at 159 Aldine Bender Rd in Houston, TX where the subjects
remained in the business for approximately 10 minutes and return back to the black Nissan
Xterra. Agents observed a white Ford cargo van park approximately three spaces away from the
black Nissan Xterra.

Agents were able to document the license plates of the white Ford cargo van as
Mississippi license plates LJW269. Agents observed the driver exit the white Ford van and walk
toward the black Nissan Xterra. The male driver was observed talking with VARGAS-
Hernandez and then walk back to the white Ford van. Agents observed the male driver of the
white Ford van talk to a female that was sitting in the white Ford van for a few minutes. After a
few minutes the male driver in the white Ford van walked back to and entered the black Nissan
Xterra utilizing the rear passenger door. Agents observed the male in the rear passenger seat
remain in the black Nissan Xterra for a few minutes then exit the black Nissan Xterra along with
the Hispanic female wearing the orange long sleeve shirt. The male driver of the white Ford van
and the Hispanic female wearing the orange long sleeve shirt walked from the black Nissan
Xterra to the white Ford van where both subjects enter the white Ford van. VARGAS-
Hernandez exited the parking lot and departs.

4, On July 10, 2018, agents observed the black Nissan Xterra with Texas Registration
GWK7484 driven by VARGAS-Hernandez depart 2417 Woodgate St and arrive at 13619
Sundale Rd. address. Agents were unable to identify the which trailer VARGAS-Hernandez was
at and asked Custom and Border Protection Air and Marine division for assistance in the
surveillance. Agents were able to get Air and Marine Agents to confirm that VARGAS-
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Hernandez was parked at the last mobile home on the property, 13619 Sundale Rd. Trailer F.

Air and Marine Agents observed individuals come from what look like the brush line into the
trailer, Air and Marine Agents were unable to relay where the individuals came out of. Air and
Marine Agents advised Agents a male with water bottles entered the black Nissan Xterra and

was departing the property. Agents followed the black Nissan Xterra to a water dispensing
fountain where Agents observed VARGAS-Hernandez fill the five-gallon water bottles. Agents
also noticed a blue Ford F-150 depart the same trailer located at 13619 Sundale Rd. Trailer F and
travel to the same shopping center as the black Nissan Xterra but never made contact with
VARGAS-Herandez. Agents observed VARGAS-Hernandez travel back toward the 13619
Sundale Rd. address.

5. On July 20, 2018 at approximately 5:41 p.m., agents observed VARGAS-Hernandez in
the black Nissan Xterra with Texas Registration GWK7484 drop off two (2) suspected illegal
aliens at 13619 Sundale Rd #F, Houston, Texas. The address is a known stash house being used
by an alien smuggling organization. HSI Houston Human Smuggling Agents with Border Patrol
Agents assigned to the South Texas Corridor and embedded ERO Agents have observed through
surveillance suspected illegal aliens being dropped off and picked up.

6. On July 23, 2018, agents observed VARGAS-Hernandez in the black Nissan Xterra with
Texas Registration GWK7484 arrive at the 13619 Sundale Rd. Trailer F address at
approximately 0910 hours. At approximately 0945, VARGAS-Hernandez departed the property
and traveled to Home Depot located at 10707 North Freeway. VARGAS-Hernandez parked on
the north side of the parking lot. At approximately 1005 hours, a black Ford F-150 with Texas
Registration KSX5539 arrived and met with VARGAS-Hernandez. Agents noticed the driver of
the black Ford F-150 had a square package bundle wrapped in a white cloth that looks like a
bundle of money. Agents were able to observe the male driver of the black Ford F-150 enter the
black Nissan Xterra. Agents observed a female exit the black Xterra through the back-passenger
side door and the male driver of the black F-150 exit the black Nissan Xterra through the front
passenger side door. Agents observed the driver of the black F-150 and the female enter the
black F-150 and depart.

TL. On August 2, 2018 at approximately 1300 hours, agents observed VARGAS-Hernandez
depart 2417 Woodgate, Houston, TX. Agents conducted surveillance on VARGAS-Hernandez.
Agents were able to contact Harris County Deputies to conduct a traffic stop in order to identify
the driver. Harris County Deputy noticed the black Nissan Xterra had a brake light out and
conducted a traffic stop near I-69 and the I-610 loop. Harris County Deputy asked the driver for
his driver’s license. The driver did not have a Texas issued identification but provided the Harris
County Deputy with a Mexican Consular ID card. The Mexican Consular ID card identified the
driver as Albino VARGAS-Hernandez with a date of birth of 12/16/1970 born in Hidalgo,
Mexico. Harris County Deputy issued VARGAS-Hernandez a warning and released the subject
without further incident.

8. On August 16, 2018 at approximately 3:34 p.m., agents observed VARGAS-Hernandez
in the black Nissan Xterra with Texas Registration GWK7484 drop off one (1) suspected illegal
aliens at 13619 Sundale Rd #F, Houston, Texas. The address is a known stash house being used
by an alien smuggling organization. HSI Houston Human Smuggling Agents with Border Patrol
Agents assigned to the South Texas Corridor and embedded ERO Agents have observed through
surveillance suspected illegal aliens being dropped off and picked up
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9. On August 22, 2018, HSI Houston Human Smuggling Group with Border Patrol Agents
assigned to the South Texas Corridor and embedded ERO Agents conducted surveillance on
13619 Sundale Rd #F, Houston, TX. At approximately 11:29 a.m., agents observed VARGAS-
Hernandez in the black Nissan Xterra with Texas Registration GWK7484 arrive at the Sundale
Rd address. Agents noticed one female exit the black Nissan Xterra and walk around the back
side of the property into the mobile home next door. At approximately 11:45 a.m. Agents
observed the black Nissan Xterra leave the 13619 Sundale Rd #F address and travel to a Chevron
gas station located at 10475 Veterans Memorial Dr. Houston, TX 77038, Approximately 12:15
p.m. a gold Dodge truck parked next to the black Nissan Xterra. After a few minutes Agents
observed the Dodge truck and the Nissan Xterra depart in different directions. Agents followed
the Dodge truck north on Highway 290 to Waller, TX. Agents contacted Waller Police
Department to conduct a traffic stop. Waller Police Department Officer Zuniga conducted a
traffic stop on the gold Dodge truck for failure to maintain lane. Waller Police Department
Officer Zuniga identified the driver as Roberto ZUBIETA-Loredo, front passenger Elsa
DELGADO-Jaimes, rear passengers as Luis Enrique NAVA-Tolentino and Fortino
TOLENTINO-SanJuan. Agents transported all passengers to the Houston Processing Center for
interview.

10. Based upon the evidence gathered from the investigation, I believe there is probable
cause to believe that Albino VARGAS-Hernandez violated Title 8, United States Code, Section
1324 (a) (1) (A) (v) (D, conspiracy to transport iflegal aliens.

 

 

‘Special'gent Raul Silva
Homeland Security Investigations
Houston, Texas

Sworn and subscribed before me at Houston, Texas on October 1% 2018 and I find probable

- eae M pba

Frances H. Stacy
United States Magistrate Judge

 
